                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA                       )
                                               )
                                               )
v.                                             )       Case No.        3:23-mj-1083
                                               )                       Judge Deborah C. Poplin
                                               )
RAYMOND LIDDY                                  )


               MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       The defendant, Raymond Liddy, by and through undersigned counsel, respectfully moves

this Honorable Court for leave to file under seal a motion to seal or redact a previously filed

document in this case.

       In further support, the following is stated:

       1.      On May 11, 2023, Mr. Liddy appeared before the Court for an initial appearance

pursuant to Fed. R. Crim. P. 5(c)(3) after his arrest for alleged violations of his supervised release.

The warrant was issued by the United States District Court for the Southern District of California,

the court where Mr. Liddy was convicted and sentenced.

       2.      After Mr. Liddy’s arrest, his attorney in California filed a motion in the Southern

District of California that has been litigated under seal.

       3.      Mr. Liddy seeks to file under seal a motion to seal or, in the alternative, to redact

portions of a document that has been filed in the proceedings in this Court. Publicly disclosing and

arguing the reasons that the document should be sealed or redacted defeats the purpose of the relief

sought. Further, raising this issue requires disclosure of information that is filed under seal in the

Southern District of California.




                                   1
 Case 3:23-mj-01083-DCP Document 6 Filed 05/19/23 Page 1 of 2 PageID #: 17
       4.      For these reasons, Mr. Liddy respectfully moves this Honorable Court for leave to

file under seal a motion to seal or redact a previously filed document in this case.

       Respectfully submitted,

                                               s/Tyler M. Caviness
                                               Tyler M. Caviness, BPR # 036273
                                               STEPHENS, DIRADO & CAVINESS, LLP
                                               606 W Main Street, Suite 250
                                               Knoxville, TN 37902
                                               (865) 545-0909, Fax: (865) 545-0902
                                               tyler@sdclaw.com
                                               Attorney for Mr. Liddy




                                  CERTIFICATE OF SERVICE

       I, Tyler M. Caviness, attorney for Mr. Liddy, hereby certify that a copy of motion was

filed electronically on May 19, 2023. Notice of this pleading will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt. Parties

may access this document through the Court’s electronic filing system.

                                               s/Tyler M. Caviness
                                               TYLER M. CAVINESS




                                   2
 Case 3:23-mj-01083-DCP Document 6 Filed 05/19/23 Page 2 of 2 PageID #: 18
